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AO I 06 (Rev. 04/1 0) Applicati on for a Search Warrant                r,;. :11,... p.-.-i   t
                                                                                     ,._,,.. ,t,)                F
                                     UNITED STATES DISTRICT Co                                          T              NO V O1 2019
                                                                     for the
                                                                                                          C                              l!
                                                         Southern District of California              SOL',·     r.,           ,-,-      -7~NI A
                                                                                                      BY                                      '11y

              In the Matter of the Search of                            )
         (Briefly describe the property to be searched
          or identify the person by name and address)
                                                                        )
                                                                        )           Case No.    19MJ485 2
                    Doppio Cellular Phone                               )
                   IMEI: 359547080871905                                )
                     Model Number U450                                  )

                                            APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A-1.
located in the             Southern               District of               California           , there is now concealed (identify the
person or describe the property to be seized) :

 See Attachment B-1.

          The basis for the search under Fed, R. Crim. P. 41 ( c) is (check one or more) :
                 ~ ev idence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfull y restrained.

          The search is related to a violation of:
              Code Section                                                          Offense Description

        21 U.S .C. §§ 952, 960                     Importation of Methamphetamine

          The application is based on these facts:
        See attached affidavit of HSI Special Agent Cole Evans

           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (g(vJ1xact ending date if more thap10 days : _ _ _ __                               ) is requested
             under 18 U.S.C. § 3103a, the basy of which is set forth on the ~ ached sheet.

                                                                                           L~~  Applicant's signature

                                                                                           Cole Evans, HSI Special Agent
                                                                                                Printed name and title

Sworn to before me and signed in my presence.


Date:
          Ilf/11'!1
               I
City and state: San Diego, California
                                                                        & ~~-  Hon. Barbara L. Major, United States Magistrate Judge
                                                                                                Printed name and title
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                        AFFIDAVIT IN SUPPORT OF APPLICATION
 1
                                FOR SEARCH WARRANT
 2
           I, Cole Evans, Special Agent with the Department of Homeland Security (DHS),!
 3
 4 Immigration and Customs Enforcement (ICE), Homeland Security Investigations (HSI
 5 being duly sworn, depose and state as follows:
                                         INTRODUCTION
 6
           1.     I make this affidavit in support of an application for a search warrant i
 7
     furtherance of a narcotics smuggling investigation conducted by HSI Special Agents for th
 8
     following target property:
 9
10                a.   Doppio Cellular Phone
11                     IMEI:359547080871905
                       Model Number U450
12                     (Target Device 1)
13
                  b.    LG Stylo 4 Phone
14                     IMEI:352439101643702
15                     (Target Device 2)

16                     (collectively, the Target Devices)

17          2.    The Target Devices were seized on October 3, 2019, from Jorge ALVARADO,

18 at the San Ysidro Port of Entry (POE), San Diego, California when he entered the Unite
19 States from Mexico. It is believed that the Target Devices were used by ALVARADO to1
20 communicate with co-conspirators during a drug smuggling event on October 3, 2019. 0
21 that date, ALVARADO was arrested after driving his vehicle that was found to hav
22 approximately 19.54 kilograms (43.08 pounds) of methamphetamine concealed within th
23 stakes of the vehicle's flat-bed frame. The Target Devices are currently in the possessio
24 of HSI San Ysidro Office, 2255 Niels Bohr Court, San Diego, California 92154, locate
25 within the Southern District of California.
26
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 1         3.    Based on the information below, there is probable cause to believe that a searc
 2 II of the Target Devices will produce evidence of the aforementioned crimes, as described i
 3 II Attachments Bl and B2.
 4         4.    The information contained in this affidavit is based upon my experience an
 5 II training, and consultation with other federal, state, and local law enforcement agents. Th
 6 II evidence and information contained herein was developed from interviews and my revie
 7 of documents and evidence related to this case. Because this affidavit is made for the limite
 8 purpose of obtaining a search warrant for the Target Devices, it does not contain all of th
 9 II information known by me or other federal agents regarding this investigation, but onl
1O II contains those facts believed to be necessary to establish probable cause.
11 II                               TRAINING AND EXPERIENCE
12         5.    I am a Special Agent with Department of Homeland Security (DHS),
13 II Immigration and Customs Enforcement (ICE), Homeland Security Investigations (HSI), an
1411 have been so employed since October 2017. I have successfully completed the Crimina
15 II Investigator Training Program (CITP) and the Homeland Security Investigations Specia
16 II Agent Training (HSISAT) Program at the Federal Law Enforcement Training Cente
17 II (FLETC). I have training and experience in multiple investigative areas, and I have bee
18 II cross-designated by the Drug Enforcement Administration to conduct investigations an
19 II make arrests based on violations of Title 21, United States Code. I am presently assigned t
20 II a Contraband Smuggling Group in San Ysidro, California, and my duties includ
21 II investigating the illicit movement of controlled substances into the United States. Prior t
22 II my employment as a Special Agent, I was a Naval Explosive Ordnance Disposal (EOD)
23 II Officer and Platoon Commander. I hold a Bachelor's of Science degree in Mathematics fro
24 II the United States Naval Academy.
25 II       6.   Through the course of my training, investigations, and conversations with othe
26 II law enforcement personnel, I am aware that it is a common practice for narcotics smuggler
2711 to work in concert with other individuals and to do so by utilizing electronic devices t
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 1 II maintain communications with co-conspirators in order to further their criminal activities.
 2 II This is particularly true in cases involving distributional quantities of hard narcotics, such a
 3 II cocaine, heroin, and methamphetamine. Typically, load drivers smuggling narcotics acros
 4 II the border from Mexico into the United States are in telephonic contact with co-conspirator
 5 11 immediately prior to and following the crossing of the load vehicle, at which time the
 6 receive instructions on how to cross and where and when to deliver the controlled substances.
 7 Narcotics smugglers and their organizations use electronic devices, in part, because thes
 8 II individuals believe law enforcement is unable to track the originating and destination phon
 9 II numbers of calls placed to and from electronic devices. In preparing this affidavit, I hav
1O II conferred with other agents and law enforcement personnel who are experienced in the are
11 II of narcotics investigations, and the opinions stated below are shared by them. Further, I hav
12 II personal knowledge of the following facts, or have had them related to me by person
13 II mentioned in this affidavit.
14         7.     Based upon my training and experience as a Special Agent, and consultation
15 II with law enforcement officers experienced in controlled substance smuggling investigations,
16 II and all the facts and opinions set forth in this affidavit, I submit the following:
             a.      Drug smugglers will use electronic devices because they are mobile and they
17
                     have instant access to telephone calls, text, web, and voice messages.
18
19           b.     Drug smugglers will use electronic devices because they are able to actively
                    monitor the progress of their illegal cargo while the conveyance is in transit.
20
21         C.     Drug smugglers and their accomplices will use electronic devices because they
                  can easily arrange and/or determine what time their illegal cargo will arrive at
22                predetermined locations.
23
           d.     Drug smugglers will use electronic devices to direct drivers to synchronize an
24                exact drop off and/or pick up time of their illegal cargo.
25
           e.     Drug smugglers will use electronic devices to notify or warn their accomplices
26                oflaw enforcement activity to include the presence and posture of marked and
27                unmarked units, as well as the operational status of checkpoints and border
                  crossmgs.
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                                                   3
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           f.     Drug smugglers and their co-conspirators often use electronic devices to
 1
                  communicate with load drivers who transport their narcotics and/or drug
 2                proceeds.
 3
           g.     The use of electronic devices by drug smugglers tends to generate evidence
 4                that is stored on the electronic devices, including, but not limited to emails,
 5                text messages, photographs, audio files, call logs, address book entries, IP
                  addresses, social network data, and location data.
 6
 7         8.     Subscriber Identity Module (SIM) Cards, also known as subscriber identi
 8 II modules, are smart cards that store data for cellular/mobile telephone subscribers. Such <lat
 9 11 includes user identity, location and phone number, network authorization data, persona
10 11 security keys, contact lists and stored text messages. Much of the evidence generated by
11 II smuggler's use of a cellular/mobile telephone would likely be stored on any SIM Card that ha
12 II been utilized in connection with that telephone.
13         9.     Based upon my training and experience as a Special Agent, and consultation
14 11 with law enforcement officers experienced in narcotics smuggling investigations, and all th
15 II facts and opinions set forth in this affidavit, I have learned that electronic devices ofte
16 II contain electronic records, phone logs and contacts, voice and text communications, and <lat
17 II such as emails, text messages, chats and chat logs from various third-party applications,
18 II photographs, audio files, videos, and location data. This information can be stored withi
19 II disks, memory cards, deleted data, remnant data, slack space, and temporary or permanen
20 II files contained on or in the electronic device. Specifically, I have learned, based upon m
21 II training, education, and experience that searches of electronic devices associated wit
22 II narcotics smuggling investigations yield evidence:
23
           a.     tending to identify attempts to import methamphetamine or some other federall
24
                  controlled substance from Mexico into the United States;
25
           b.     tending to identify accounts, facilities, storage devices, and/or services-such a
26
                  email addresses, IP addresses, and phone numbers-used to facilitate th
27                importation of methamphetamine or some other federally controlled substanc,
                  from Mexico into the United States;
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 1
             C.     tending to identify co-conspirators, criminal associates, or others involved in th
 2                  importation of methamphetamine or some other federally controlled substanc
                    from Mexico into the United States;
 3
 4           d.     tending to identify travel to or presence at locations involved in the importatio
                    of methamphetamine or some other federally controlled substance from Mexic
 5
                    into the United States, such as stash houses, load houses, or delivery points;
 6

 7
            e.      tending to identify the user of, or persons with control over or access to, the
                    electronic device; and/or
 8
 9
            f.      tending to place in context, identify the creator or recipient of, or establish th
                    time of creation or receipt of communications, records, or data involved in th
10                  activities described above.
11                              FACTS SUPPORTING PROBABLE CAUSE
12           10.    On October 3, 2019, at approximately 5:23 p.m., a Customs and Borde
13 Protection Officer (CBPO) encountered ALVARADO while performing duties at the Sa
14 Ysidro Port of Entry vehicle primary lane 25. ALVARADO was the driver and sole occupan
15 of a white Chevrolet stake bed truck bearing California tag 7T48295 (the Vehicle). Upo
16 entering ALVARADO' s information into the computer system, the CBPO received
17 computer-generated alert. The CBPO received two negative customs declarations fro
18 ALVARADO and referred the Vehicle to secondary inspection for further investigation.
19           11.    On October 3, 2019, a Border Patrol Agent (BPA) was assigned to assist wit
20 II CBPO Field Operations at the San Ysidro Port of Entry. While the Vehicle was parked i
21 11 the secondary lot, the BP A observed that the Vehicle resembled two similar stake bed truck
22 11 that were recently used in smuggling events. The BP A inspected the frames of the vehicle's,
23 II stake bed and observed silicon holding caps at the base of the frames .' The BPA pushed th
24 II silicon cap into the frame and observed a bundle concealed in the frame's cavity. The BP
25 II then inspected the vehicle with his assigned Narcotics and Human Detection Dog (NHDD),
26 II and the NHDD alerted to the trained odor of narcotics at the vehicle's framed area of th
2 7 11 stake bed.
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                                                     5
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 1            12.   At approximately 6:27 p.m., a CBPO conducted a screening of the vehicle wit
 2 II another assigned NHDD while the vehicle was parked in the secondary lot. The NHD
 3 alerted to a trained odor of narcotics at the framed area of the vehicle's stake bed. Followin
 4 the NHDD screenings, a CBPO conducted a seven-point inspection of the vehicle. Th
 5 II CBPO discovered thirty-six packages concealed within the stakes of the vehicle's flat-be
 6 II frame. The thirty-six packages contained a white crystalline substance that field-teste
 7 II positive for the properties of methamphetamine. The total weight of the methamphetamin
 8 II amounted to 19.54 kilograms.
 911          13.   A CBP Officer placed ALVARADO under arrest. At the time of arrest,:
1O II ALVARADO was in possession of the Target Devices. CBP assumed custody of the Targe
11      Devices.
12            14.   Based upon my experience investigating narcotics traffickers and the particula
13 II investigation in this case, I believe that the Defendant likely used the Target Devices t
14 II coordinate the importation of federally controlled substances into the United States. I
15 II addition, I believe that recent calls made and received, telephone numbers, contact names,
16 11 electronic mail (e-mail) addresses, appointment dates, text messages, pictures and othe
17 II digital information may be stored in the memory of the Target Devices which may identi
18 II other persons involved in narcotics trafficking activities. Accordingly, based upon m
19 II experience and training, consultation with other law enforcement officers experienced i
20 II narcotics trafficking investigations, and all the facts and opinions set forth in this affidavit,
21 II I believe that information relevant to the narcotics smuggling activities of the Defendant,
22 II such as telephone numbers, made and received calls, contact names, electronic mail (e-mail)
23 11 addresses, appointment dates, messages, pictures, and other digital information, may b
24 II stored in the memory of the Target Devices.
25 II         15.   Finally, I also have learned that narcotics trafficking activities entail intricat
26 II planning to successfully evade detection by law enforcement. In my professional training,
2711 education and experience, I have learned that this requires planning and coordination in th
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 1 11 days, weeks, and often months prior to the event. Given this, I request permission to searc
 2 11 the Target Devices for items listed in Attachments B 1 and B2 beginning on August 3, 2019,
 3 II up to and including October 3, 2019.
 4 II                               SEARCH METHODOLOGY
 5         16.    It is not possible to determine, merely by knowing the cellular telephone'
 6 II make, model and serial number, the nature and types of services to which the device i
 7 II subscribed and the nature of the data stored on the device. Cellular devices today can b
 8 II simple cellular telephones and text message devices, can include cameras, can serve a
 9 II personal digital assistants and have functions such as calendars and full address books an
1O II can be mini-computers allowing for electronic mail services, web services and rudimenta
11 11 word processing. An increasing number of cellular service providers now allow for thei
12 II subscribers to access their device over the internet and remotely destroy all of the dat
13 II contained on the device. For that reason, the device may only be powered in a secur
14 II environment or, if possible, started in "flight mode" which disables access to the network.
15 II Unlike typical computers, many cellular telephones do not have hard drives or hard driv
16 II equivalents and store information in volatile memory within the device or in memory cards1
17 II inserted into the device. Current technology provides some solutions for acquiring some o
18 II the data stored in some cellular telephone models using forensic hardware and software.
19 II Even if some of the stored information on the device may be acquired forensically, not al
20 II of the data subject to seizure may be so acquired. For devices that are not subject to forensi
21 II data acquisition or that have potentially relevant data stored that is not subject to sue
22 11 acquisition, the examiner must inspect the device manually and record the process and th
23 II results using digital photography. This process is time and labor intensive and may tak
2411 weeks or longer.

25         17.    Following the issuance of this warrant, I will collect the subject cellula
2611 telephones and subject them to analysis. All forensic analysis of the data contained withi
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 1 II the telephones and memory card(s) will employ search protocols directed exclusively to th
 2 II identification and extraction of data within the scope of this warrant.
 3 II           18.   Based on the foregoing, identifying and extracting data subject to
 4 II pursuant to this warrant may require a range of data analysis techniques, including manua
 5 II review, and, consequently, may take weeks or months. The personnel conducting th
 6 II identification and extraction of data will complete the analysis within ninety (90) days of th
 7 11 date the warrant is signed, absent further application to this court.
 8                           PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 9              19.   Law enforcement has not previously attempted to obtain the evidence sough
10 11 by this warrant.
11                                            CONCLUSION
12              20.   Based on all of the facts and circumstances described above, there is probabl
13 II cause to conclude that ALVARADO used the Target Devices to facilitate violations ofTitl
141121 , United States Code, Section(s) 952 and 960.
15 11           21.   Because the Target Devices were promptly seized during the investigation o
16 II ALV ARADO's smuggling activities and have been securely stored, there is probable caus,
17 II to believe that evidence of illegal activities committed by ALVARADO continues to exis
18 II on the Target Devices. As stated above, I believe that the date range for this search is fro
19 II August 3, 2019, up to and including October 3, 2019.
20 II
21      II
22 II
23 II
24 II
25      II
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 1        22.    Accordingly, I request that the Court issue a warrant authorizing la
 2 II enforcement to search the item(s) described in Attachment A and seize the items listed ·
 3 11 Attachments B 1 and B2 using the above-described methodology.
.
 4
 5
                                                              C ((Cj_
                                                      COLE EVANS
                                                      HSI Special Agent
 6
                                              ~
 711 Subscribed and sworn to before me this / ~        y of   ,Ilk= ,2019.

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 8
 9
10                                                    United States Magistrate Judge
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